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           UNITED STATES DISTRICT COURT
                                    District of Kansas

UNITED STATES OF AMERICA,

                       Plaintiff,

               v.                                  Case No. 19-20052-01-JAR

FENG TAO,

                       Defendant.


GOVERNMENT’S MOTION FOR A PRETRIAL CONFERENCE
    PURSUANT TO THE CLASSIFIED INFORMATION
               PROCEDURES ACT

       The United States of America, by and through its undersigned counsel, respectfully

moves the Court for a pretrial conference pursuant to Section 2 of the Classified Information

Procedures Act (“CIPA”), 18 U.S.C. App. III. In accordance with the CIPA procedures outlined

herein, the government anticipates filing an ex parte motion, pursuant to Section 4 of CIPA, for

in camera resolution of issues concerning specific classified information. The government does

not anticipate using classified information affirmatively at trial, nor does the government

anticipate providing classified information to the defense in this case, which would implicate

other provisions of CIPA that are not otherwise discussed herein.

I.     Overview of Relevant CIPA Provisions

       The Supreme Court has acknowledged the importance of protecting the nation’s secrets
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from disclosure, noting that “[t]he Government has a compelling interest in protecting both the

secrecy of information important to our national security and the appearance of confidentiality so

essential to the effective operation of our foreign intelligence services.” CIA v. Sims, 471 U.S.

159, 175 (1985); accord Chicago & Southern Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S.

103, 111 (1948) (“The [executive branch] has available intelligence services whose reports are

not and ought not to be published to the world.”). Accordingly, courts have long recognized that

“[i]t is not in the national interest for revelation of either the existence or the product of [foreign

intelligence operations and information] to extend beyond the narrowest limits compatible with

the assurance that no injustice is done to the criminal defendant.” United States v. Lemonakis,

485 F.2d 941, 963 (D.C. Cir. 1973).

        CIPA was enacted “to prevent the problem of ‘graymail,’ where defendants pressed for

the release of classified information to force the government to drop the prosecution.” United

States v. Sarkissian, 841 F.2d 959, 965 (9th Cir. 1988). Consequently, CIPA establishes a set of

procedures by which courts rule on pretrial matters concerning the discovery, admissibility, and

use of classified information in criminal cases. 1 See id. These procedures “endeavor to

harmonize a defendant’s right to a fair trial with the government’s right to protect classified

information.” United States v. Sedaghaty, 728 F.3d 885, 903 (9th Cir. 2013).

        Importantly, “CIPA does not expand or restrict established principles of discovery and

does not have a substantive impact on the admissibility of probative evidence.” Sedaghaty, 728

F.3d at 903; see also United States v. Lustyik, 833 F.3d 1263 (10th Cir. 2016) (“[CIPA] is a



1
 Under CIPA, “classified information” includes any information or material that has been
determined by the United States Government pursuant to law or regulation to require protection
against unauthorized disclosure for reasons of national security. 18 U.S.C. App. III, § 1(a).
“National security” means the national defense and foreign relations of the United States. Id. at §
1(b).
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procedural statute . . . that does not give rise to an independent right to discovery.”). Rather, “it

contemplates an application of the general law of discovery in criminal cases to the classified

information area with limitations imposed based on the sensitive nature of the classified

information.” United States v. Yunis, 867 F.2d 617, 621 (D.C. Cir. 1989) (explaining that the

threshold for discovery in the context of classified information is whether information is at least

“relevant and helpful to the defense of [the] accused”). Thus, CIPA does not, and was not

intended to, “expand the traditional rules of discovery under which the government is not

required to provide criminal defendants with information that is neither exculpatory nor, in some

way, helpful to the defense.” United States v. Varca, 896 F.2d 900, 905 (5th Cir. 1990).

       A.      Section 2: Pretrial Conference

       Section 2 of CIPA authorizes the district court, upon motion by any party or at its own

discretion, to hold a pretrial conference to consider matters relating to classified information that

may arise in connection with the prosecution. 18 U.S.C. App. III § 2. No substantive issues

concerning the use of classified information are to be decided in a Section 2 pretrial conference.

See S. Rep. No. 96-823, at 5–6 (1980), reprinted in 1980 U.S.C.C.A.N. 4294, 4298–99 (96th

Cong. 2d Sess.). Where, as here, the government is seeking to protect classified information from

unwarranted discovery, rather than make affirmative use of it, the conference serves to advise the

Court of forthcoming ex parte motion practice. Id.

       B.      Section 4: Protection of Classified Information

       Section 4 of CIPA governs how courts address and process pretrial matters concerning

the discoverability of classified information in criminal cases. It expressly authorizes ex parte

filings seeking in camera review of classified information that may be discoverable. Sedaghaty,

728 F.3d 908-909. Among other things, Section 4 permits the Court, “upon a sufficient



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showing,” to authorize the government “to delete specified items of classified information” from

“discovery under the Federal Rules of Criminal Procedure.” 2 18 U.S.C. App. III, § 4. Rule

16(d)(1) of the Federal Rules of Criminal Procedure similarly provides that, “[u]pon a sufficient

showing,” a district court “may, for good cause, deny, restrict, or defer discovery or inspection,

or grant other appropriate relief.” The legislative history of CIPA makes clear that Section 4 was

“intended to clarify the court’s powers under Fed. R. Crim. P. 16(d)(1) to deny or restrict

discovery in order to protect national security.” Sedaghaty, 728 F.3d at 904 (citing S. Rep. No.

96-823 at 6, reprinted in 1980 U.S.C.C.A.N. at 4299-4300). In essence, Section 4 allows the

government to request that a court review, ex parte and in camera, classified information to

determine whether it is discoverable and, if it is discoverable, to protect such information from

disclosure. See Id. at 904.

       Defendants do not have a due process right to know or have access to the classified

information in the government’s possession that it seeks to delete from discovery. United States

v. Mejia, 448 F.3d 436, 458 (D.C. Cir. 2006) (finding no constitutional bar to proceeding ex

parte under CIPA § 4). Nor is defense counsel entitled to access that information simply because

he or she holds a security clearance. Sedaghaty, 728 F.3d at 908-909. To the extent courts require

a hearing to rule on a Section 4 motion, such a hearing should be ex parte. See H.R. Rep. No.

96-831, at 27 n.22 (1980) (“[S]ince the government is seeking to withhold classified information

from the defendant, an adversary hearing with defense knowledge would defeat the very purpose

of the discovery rules.”); see also United States v. Klimavicius-Viloria, 144 F.3d 1249, 1261 (9th

Cir. 1998) (citing Yunis, 867 F.3d at 620).



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  Section 4 also permits the Court to authorize the government “to substitute a summary of the
information for such classified documents” or “to substitute a statement admitting relevant facts
that the classified information would tend to prove.”
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        C.      Section 7: Interlocutory Appeal

        Section 7 of CIPA permits the United States to take an interlocutory appeal to the

appellate court if the district court: (a) authorizes the disclosure of classified information; (b)

imposes sanctions for nondisclosure of classified information; or (c) refuses to issue a protective

order sought by the United States to prevent the disclosure of classified information. 18 U.S.C.

App. III, § 7. Section 7 requires the court of appeals to give expedited treatment to any such

interlocutory appeal. Id. If such appeal is taken, trial shall not commence, or must be adjourned if

already commenced, until the appeal is resolved. Id. Such an appeal and decision does not affect

the defendant’s right to lodge a subsequent appeal upon conviction of an adverse ruling by the

trial court. Id. at § 7(b). In sum, CIPA permits the government to make an informed decision

concerning the costs of going forward with a prosecution involving classified information. See

United States v. Collins, 720 F.2d 1195, 1196-97 (11th Cir. 1983).

II.     Request to Designate Classified Information Security Officer

        In anticipation of the issues raised by this motion, the government requests that the Court

designate a Classified Information Security Officer (CISO) pursuant to Section 2 of the Revised

Security Procedures established under Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the

United States and promulgated pursuant to Section 9 of CIPA. That section provides that:

                In any proceeding in a criminal case or appeal therefrom in which
                classified information is within, or is reasonably expected to be
                within, the custody of the court, the court will designate a
                “classified information security officer.” The Attorney General or
                the Department of Justice Security Officer will recommend to the
                court a person qualified to serve as a classified information
                security officer. This individual will be selected from the Litigation
                Security Group, Security and Emergency Planning Staff,
                Department of Justice, to be detailed to the court to serve in a
                neutral capacity.




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Revised Security Procedures established under Pub. L. 96-456, 94 Stat. 2025 § 2. CISOs

designated pursuant to this process are responsible for the security of all classified information in

the Court’s custody and assist the Court with appropriate security clearances for the Court’s staff

as well as the handling and storage of any classified materials including any pleadings or other

filings related to CIPA proceedings. Id.

       The government recommends that the Court designate Matthew W. Mullery, Security

Specialist, for the position of Classified Information Security Officer in the above-captioned

case. The government also recommends Security Specialists, Daniel O. Hartenstine, Winfield S.

“Scooter” Slade, Daniella Medel, Carli V. Rodriguez-Feo, and Harry J. Rucker as alternate

Classified Information Security Officers.

                                                      Respectfully submitted,

                                                      /s/ Adam P. Barry
                                                      Adam P. Barry
                                                      Benjamin J. Hawk
                                                      Trial Attorneys
                                                      National Security Division
                                                      U.S. Department of Justice

                                                      /s/ Christopher Oakley
                                                      D. Christopher Oakley
                                                      Assistant United States Attorney
                                                      United States Attorney’s Office for the
                                                      District of Kansas




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the October 28, 2021, I caused the foregoing response to be filed with

the Clerk of the Court, with a true and accurate copy provided to each counsel of record in the case.

                                                       /s/ Christopher Oakley
                                                       D. Christopher Oakley
                                                       Assistant United States Attorney
                                                       United States Attorney’s Office for the
                                                       District of Kansas




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